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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                            WAYCROSS DIVISION




              UNITED STATES OF AMERICA,


                    V.                                           CASE NO.: CR514-010


              BRIAN JAMES WILSON
              BENJAMIN ROBERT TAYLOR
              DUSTIN SHANE WILLIAMSON




                                                   ORDER


                    The Court has been advised that the Government's Motion for Reciprocal Discovery

              (doc. 18) has been resolved.

                    Accordingly, said Motion is DISMISSED as moot.

                    SO ORDERED, this              day of September, 2014.




                                                                            (A,



                                                             MES E. GRAHAM
                                                            NITED STATES MAGISTRATE JUDGE




AO 72A
(Rev. 8/82)
